   IN THE DISTRICT COURT OF THE UNITED STATES
  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
               ASHEVILLE DIVISION

                  CRIMINAL NO. 1:04CR118-5


UNITED STATES OF AMERICA )
                      )
                      )
       VS.            )                      ORDER
                      )
                      )
RICHARD LEE SMITH        )
                                             )


    THIS MATTER is before the Court sua sponte to

continue the sentencing hearing from the November 27,

2006, calendar.

    IT IS, THEREFORE, ORDERED that this case is

continued from the November 27, 2006, sentencing calendar

and is hereby RESCHEDULED for hearing on TUESDAY,

NOVEMBER 28, 2006, AT 11:00 AM, in Asheville, North
                                   Signed: November 14, 2006
Carolina.




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